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                        EXHIBIT 07
                       Direct contact with the children on Facetime without supervision   EXHIBIT07
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Subject: Direct contact with the children on Facetime without supervision
From: Arnaud Paris <aparis@sysmicfilms.com>
Date: 01/05/2024 21:26
To: Heidi Paris <heidimparis@gmail.com>

Heidi, I asked you in the email below before the weekend to set up proper times for me to
speak with the girls over the weekend on Facetirne directly without any supervision from your
part and you didn't.
It's been nearly a month since you took our daughters ·from France to the USA in violation of
the French judgments and particularly the one forbidding you to take the kids outside of
France because you were a high risk of kidnapping.
I've not been able to speak directly with the girls even once without supervision, and you
continue to try to oversee any dialogue which is extremely improper and concerning. Like when
you called on speakerphone in your car on April 18th at 4 AM French time ... You hung up after
a minute because it's clear you fear they might reveal details about your illegal exit from
France and Europe.
Your continued escape and fugitive run will achieve nothing Heidi, the truth about the crimes
you've committed will come out. Please do not further involve the girls in your lies and in
this illegal escape from Europe.
You are causing the girls even more suffering by depriving them of this precious dialogue with
their father. It's been nearly a month now since they've had any direct contact with me, which
they must be terribly missing given that I had full custody in Paris for the entire school
year and they were looking forward to reuniting with me after their holiday week with you to
celebrate my birthday and enjoy some vacation time with me and my parents on the French
Riviera, before going back to their classmates to finish their school year normally in Paris.
You've taken them out of school in the middle of the year, how could you do such a thing? This
is so disruptive and it doesn't make any sense. It's clear you do not have our daughters' best
interests in mind, Heidi. I'm really shocked about all this behavior and the extreme trauma
you're causing on our children.
I am asking you to restore direct communication without supervision as I have requested in my
previous emails, by returning their smartwatch and their iPad dedicated to parental
communication and organizing adequate Facetimes sessions at reasonable French hours several
times a week, the same way I was doing it for you while they were with me in France all these
months.
Please propose three time slots at decent French hours for the next few days so that I can
speak with each of them in turn, in private, directly and without your supervision or anyone
else 1 s.
Thanks,
Arnaud
On 26/04/2024 14:46, Arnaud Paris wrote:
 Heidi, cela fait pres de 3 semaines que tu as kidnappe nos filles de France vers les USA en
 violant l' 1ST.
 Je n'ai pas pu leur parler une seule fois en direct, et tu essayes de superviser tout
 dialogue avec elles comme lorsque tu avais appele sur haut parleur dans ta voiture le 18
 avril a 4 heure du matin heure fran~aise ... Tu avais raccroche au bout d 1 une minute car il
 est Evident que tu crains qu'elles ne me raccontent des choses compromettantes sur ta sortie
 illegale de la France et de l'Europe.
 Ta fuite en avant n 1 aboutira a rien, la verite va resortir sur le crime que tu as commis. Ne
 mele pas les filles plus encore ates mensonges et a cette fuite illegale d'Europe.
 Tu les fais souffrir encore plus en les privant de ce dialogue precieux avec leur pere
 depuis trois semaine qui doit leur manquer terriblement etant donne que j 'avais la garde
 complete et qu 1 elles comptaient sur le fait de me retrouver a l 1 issue de leur semaine de
 vacances avec toi pour finir leur annee scolaire normalement a Paris. Tu viens de les
 arracher en plein milieu d 1 annee scolaire, comment as tu pu faire une chose pareille? Tu
 n as clairement pas l interet de nos filles en tete Heidi.
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Je te demande de retablir un lien direct sans superv1s1on comme je te l'avais demande dans
mes precedents emails en leur rendant leur montre connectee et leur ipad dedie a la
communication parentale et en organisant des temps de parole suffisants a des horaires
decents heure fran,aise.
Merci done de me proposer 3 creneaux a des heures fran~aises decentes sur demain samedi et
dimanche pour que je puisse communiquer avec elles chacune a leur tour, en direct sans
supervision de ta part au de qui que ce soit.
Arnaud




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